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STATE OF ILLINOIS 2ARC A. GASPARIN
IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT “Herk of the Circutt Court
COUNTY OF WINNEBAGO naan aires
LISA FARRELL, )
) Case No. 05 L 301
Plaintiff, }
)
VS. )
)
ROCK VALLEY COLLEGE, )
)
Defendant. )

PLAINTIFF’S REPLY TO DEFENDANT’S AFFIRMATIVE DEFENSES

NOW COMES the plaintiff, LISA FARRELL, by PETER DeBRUYNE, P.C. and LEWIS
B. KAPLAN, her attorneys, and for her Reply to Defendant, ROCK VALLEY COLLEGE’S
affirmative defenses, states as follows:

1. Under Illinois law, employees such as Plaintiff who are not covered by a
collective bargaining agreement or issued an employment contract are presumptively at-will
employees.

ANSWER TO PARAGRAPH 1: Plaintiff denies the allegations of paragraph 1
inasmuch as paragraph 1 is an attempted recitation of a matter of law, not fact, and is thus
improperly pled.

2. Plaintiff was issued an employee handbook which contains an at-will disclaimer
affirming Plaintiff's at-will employment status.

ANSWER TO PARAGRAPH 2: Plaintiff denies each and every allegation of paragraph

3. Board Policy 629 provided progressive discipline guidelines which are non-

mandatory and did not alter Plaintiff's at-will employment status.

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ANSWER TO PARAGRAPH 3: Plaintiff moves to strike paragraph 3 inasmuch as
pleading of this paragraph has been precluded by the court’s disposition of defendant’s Motion to
Dismiss on the merits.

4, Even assuming, arguendo, that Board Policy 629 was mandatory and binding
upon Defendant, Defendant complied with its procedures in terminating Plaintiff's employment
for repeated and serious performance errors and misconduct.

ANSWER TO PARAGRAPH 4: Plaintiff denies each and every allegation of
paragraph 4.

5, Defendant reserves the right to assert additional Affirmative Defenses upon
discovery of facts not presently known.

ANSWER TO PARAGRAPH 5: Plaintiff denies each and every allegation of
paragraph 5 inasmuch as paragraph 5 is not an allegation of fact but rather a precatory statement
for which a reply is not required.

WHEREFORE, the plaintiff, LISA FARRELL, requests judgment against the defendant,
ROCK VALLEY COLLEGE, in an amount in excess of $50,000.00 plus costs of suit.

LISA FARRELL, Plaintiff,

BY: PETER DeBRUYNE, P.C.

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VAN, her Attorney

Peter DeBruyne - #405
PETER DeBRUYNE, P.C.
$38 North Main Street
Rockford, IL 61 103

Lewis B. Kaplan - #1207

838 North Main Street

P.O. Box 1254

Rockford, IL 61103

Telephone (815) 963-3090

Attorneys for Plaintiff. 00090
 

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Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 3 of 37 PagelD #:109

CERTIFICATE OF SERVICE

STATE OF ILLINOIS
3S.

COUNTY OF WINNEBAGO )

Pursuant to Supreme Court Rule 12, the undersigned certifies that he served acopy of

the foregoing Plaintiff's Reply to Defendant’s Affirmative Defenses on:

Attorney Barbara Endoy
ROBBINS, SCHWARTZ, NICHOLAS, LIFTON & TAYLOR, LTD.
20 North Clark Street, Suite 900
Chicago, IL 60602
addressed as is shown above, with proper postage prepaid,

by enclosing same in an envelope,
and depositing same in the United States mail at Rockford, Illinois on the 28" day of February,

2006 at 5:00 p.m.

4, DA

}
Peter DeBruyne

SUBSCRIBED and SWORN to before
me this 28" day of February, 2006.

   

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IN THE CIRCUIT COURT OF THE 17 JUDICIAL G ==
COUNTY OF WINNEBAGO RC A. GASPARINI
Clerk of the Circuit Court
WINNEBAGO COUNTY, ILLINOIS
LISA FARRELL, ) .
)
Plaintiff, )
)
vs. ) Case No. 05 L 301
)
ROCK VALLEY COLLEGE, ) Judge Janet Holmgren .
)
Defendant. )

DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
TO STRIKE PARAGRAPH THREE OF DEFENDANT’S AFFIRMATIVE DEFENSES

The above-named Defendant, ROCK VALLEY COLLEGE (“the College”), by and
through its attorneys, Robbins, Schwartz, Nicholas, Lifton & Taylor, Ltd., for its Response
to Plaintiff's Motion to Strike Paragraph Three of Defendant's Affirmative Defenses states
as follows:

1. Plaintiff filed a Complaint for breach of employment contract alleging that she
was discharged in violation of the College’s Board Policy 629 which is entitled,
“Progressive Discipline.” (Complaint, {J 12, 13). Board Policy 629 is contained in the
College's Employee Handbook, which contains an express disclaimer of at-will
employment. ;

2. Defendantfiled a Motion to Dismiss the Complaint pursuantto Section 2-619.
The Court denied Defendant’s Motion to Dismiss. Accordingly, on February 10, 2006,
Defendant filed its Answer and Affirmative Defenses to the Complaint. Defendant's Third
Affirmative Defense states:

Board Policy 629 provided progressive discipline guidelines
which are non-mandatory and did not alter Plaintiffs at-will
employment status.

3. Plaintiff has filed a Motion seeking to strike Defendant's third affirmative
defense on the basis that it is precluded by the Court’s ruling on Defendant's Motion to
Dismiss. The Court's ruling, which is set forth in a Memorandum of Decision dated

January 9, 2006, states, in pertinent part:

 
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There is a genuine issue of material fact'as to whether the
Plaintiff ever received a copy of the entire RVC handbook
based upon the contradictory averments of Farrell and Hardy
in their respective affidavits. It is not disputed that Plaintiff was
specifically provided with a copy of Policy 629 when RVC
initiated the disciplinary process, that Policy 629 does not
contain any contractual disclaimers. Plaintiff asserts that
Policy 629 is a valid contract that required RVC to engage in
the progressive disciplinary steps prior to dismissing the
Plaintiff and the Court agrees with the Plaintiffs analysis and
arguments and holds that the three factors of Duldulao have
been met in this case. (Exhibit A).
4. For the reasons set forth below, Defendant respectfully requests that

Plaintiffs Motion to Strike be denied.

PLAINTIFF’S MOTION TO STRIKE SHOULD BE DENIED

1. Plaintiff's Motion to Strike is Premature Prior to the Close of Discovery

As the Court stated in its January 9, 2006 Memorandum of Decision, “There is a
genuine issue of material fact as to whether the Plaintiff ever received a copy of the entire
RVC handbook. ..." (Exhibit A). The College’s Employee Handbook contains an express
disclaimer affirming Plaintiff's at-will employment status. It is well settled under Illinois law
that an express disclaimer of continued employment forecloses any reasonable belief in
contract formation based upon policies issued contemporaneously with or subsequent to
the disclaimer. Boil v. Hyatt Corp., 243 Ill. App.3d 1005, 1009, 614 N.E.2d 71, 74 (1* Dist.
1993); Chesnick v. St. Mary of Nazereth Hospital, 24 1 Ill. App.3d 593, 597-598, 570 N.E.2d
545, 547-548 (1* Dist. 1991).

Facts establishing Plaintiffs receipt of the College’s Employee Handbook would
preclude a finding that Board Policy 629 is a mandatory contract which altered her at-will
employment status. Therefore, the parties should be entitled to complete discovery before
the Court issues a ruling as to whether to strike Defendant's affirmative defense that
“Board Policy 629 provided progressive discipline guidelines which are non-mandatory and

did not alter Plaintiff's at-will employment status.”

 

 
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2. There Has Been No Ruling That a Contract Between Plaintiff and the College

Existed.

Although the Court stated in its January 9, 2006 Memorandum of Decision that “the
three factors of Duldulao have been met,” the Court has not ruled that Board Policy 629
did, in fact, contractually alter Plaintiffs presumptively at-will employment status.
Additional facts regarding Plaintiffs knowledge or receipt of the Employee Handbook, or
her understanding of the non-mandatory nature of Board Policy 629, may establish that
Board Policy 629 was non-mandatory and did not alter Plaintiff's presumptively at-will
employment status.’ Under illinois law, anon-mandatory progressive discipline policy does
not constitute a contract which alters an employee’s at-will employment status. Long v. lll.
Municipal Elec. Agency, 90 F. Supp.2d 181, 185 (C.D. Ill. 2000); Harrell v. Montgomery
Ward & Co., 189 Ill. App.3d 516, 521, 545 N.E.2d 373, 376 (1* Dist. 1989); Ahigren v. Blue
Goose Supermarket, Inc., 266 Ill. App.3d 154, 639 N.E.2d 922 (2™ Dist. 1994); Shepley
v. DuPont De Nemours and Co., 722 F. Supp. 506 (C.D. Ill. 1989); Brown v. R.R. Donnelly
& Sons Co., 272 Ill. App.3d 94, 95, 650 N.E.2d 8, 8 (4" Dist. 1995).

Defendant therefore requests that it be afforded the opportunity to complete
discovery and to elicit facts to support its assertion that Board Policy 629 was non-
mandatory, before the Court decides whether to bar Defendant from relying upon its
affirmative defense that “Board Policy 629 provided progressive discipline guidelines which
are non-mandatory and did not alter Plaintiff's at-will employment status.”

WHEREFORE, Defendant ROCK VALLEY COLLEGE respectfully requests that
this Honorable Court enter an order denying Plaintiffs Motion to Strike Paragraph Three
of Defendant's Affirmative Defenses.

 

1 Even if the Court’s ruling on Defendant's Motion to Dismiss constituted a disposition on
the merits, the denial of a Section 2-619 motion to dismiss an the merits may be modified when
warranted by additional facts. Bailey v. Allstate Development Corp., 316 Ill App.3d 949, 956-957,
738 N.E.2d 189, 196, 250 ill.Dec. 225, 232 (1* Dist. 2000).

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Respectfully submitted,

ROCK VALLEY COLLEGE

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Philip H. Gerner III (3127953)

Barbara Endoy (6285513)

ROBBINS, SCHWARTZ, NICHOLAS,
LIFTON & TAYLOR, LTD.

20 North Clark Street, Suite 900

Chicago, Illincis 60602

Tel. 312.332.7760

Fax 312.332.7768

Dated: March 20, 2006

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. Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 8 of 37 PagelD #:114
an STATE OF ILLINOIS

CIRCUIT COURT
SEVENTEENTH JUDICIAL CERCUIT

WINNEBAGO COUNTY COURTHOUSE
ROCKFORD, ILLINOIS 61101
Phone (815) 987-2503
FAX (815) 987-3011

JANET R. HOLMGREN
Circuit Judge

 

March 23, 2006

ene Peter DeBruyne Attorney Barbara Endoy
38 N. Main St. 20 N. Clark St., Suite 900
Rockford, IL 61103 Chicago, IL 60602
RE: Farrell vs. Rock Valley College
05 L 301
MEMORANDUM OF DECISION
Counsel:

The Motion to Strike Paragraph Three of Defendant’s Affirmative Defenses is heard and denied.
The Court's prior ruling that Policy 629 formed a contract between the Plaintiff and Defendant
arose in the context of a dispute as to whether the Plaintiff received the handbook with the
disclaimer, which 18 a question for the jury to determine. The resolution of this issue by the jury
will resolve Plaintiff's employment status with the Defendant, and therefore, Paragraph 3 of
Defendant’s Affirmative Defense is properly plead. This ruling is made without prejudice to the

bringing of any subsequent dispositive motion as discovery goes forward.

The Court requests that Attorney Endoy draft an order, please.

 

 
Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 9 of 37 pads} D

Date. tsi] Pe
IN THE CIRCUIT COURT OF THE 17° JUDICIAL CIRCUP {ae a Aha fotsare

COUNTY OF WINNEBAGO Clerk of the Circuit Court
By. Deputy
Winnebago County, IL
LISA FARRELL, )
)
Plaintiff, )
)
vs. ) Case No. 05 L 301
) ;
ROCK VALLEY COLLEGE, ) Judge Janet Holmgren
)
Defendant. )

ORDER DENYING PLAINTIFF’S MOTION TO STRIKE
PARAGRAPH THREE OF DEFENDANT’S AFFIRMATIVE DEFENSES

This matter having come before the Court on Plaintiff's Motion to Strike Paragraph
Three of Defendant's Affirmative Defenses; Defendant having filed a Response to
Piaintiffs Motion to Strike Paragraph Th ree of Defendant's Affirmative Defenses; the Court
having heard the arguments of counsel and being otherwise fully advised in the premises;

NOW THEREFORE, IT IS HEREBY ORDERED that Plaintiff's Motion to Strike
Paragraph Three of Defendant's Affirmative Defenses be and the same is hereby DENIED,
without prejudice.

IT IS SO ORDERED.

ONORABLE JANET R. HOLMGREN

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‘Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 10 of 37 PagelD #:116

Approved as to form and content:

 

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Peter DeBruyne Conga arbara Ena
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Counsel for Plaintiff ounsel for

Prepared By:

Barbara Endoy

ROBBINS, SCHWARTZ, NICHOLAS,
LIFTON & TAYLOR, LTD.

Counsel for Defendant

20 North Clark Street, Suite 900

Chicago, Illinois 60602

Tel. 312.332.7760

Fax 312.332.7768

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT van iS
WINNEBAGO COUNTY

 

 

 

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT
WINNEBAGO COUNTY

 

 

 

 

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT
WINNEBAGO COUNTY

 

 

 

 

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IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT (> |) f=

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COUNTY OF WINNEBAGO i Poy Bow £
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LISA FARRELL, ) “A het
) Mase oo: DN ne
Plaintiff, ) n 4
}
vs. ) Case No. 05 L 301
)
ROCK VALLEY COLLEGE, ) Judge Janet Holmgren
)
Defendant. )

PROTECTIVE ORDER REGARDING DEFENDANT'S
ANSWERS TO PLAINTIFF'S FIRST SET OF INTERROGATORIES

Plaintiff, LISA FARRELL, having submitted Plaintiffs First Set of interrogatories to
Defendant Rock Valley College; Defendant having submitted objections and answers thereto;
Defendant having agreed to provide additional information in response to Plaintiff's First Set of
Interrogatories; the parties having agreed to enter into a Protective Order to preserve the
confidentiality and prevent the disclosure of certain information and documents; and the Court
being otherwise fully advised in the premises;

NOW, THEREFORE, IT IS HEREBY ORDERED that certain information and documents,
once marked as "confidential" and disclosed to Plaintiff, shall be subject to the Protective Order
contained in this agreement. The Protective Order shall apply to the following documents and
information:

Documents and information to be produced by Defendant in response to Plaintiffs

interrogatories No. 12, 13, 14 and 15, namely: disciplinary records for poor work

performance issued to similarly situated employees (non-faculty and non-

administrators) as of January 1, 2000,

IT IS FURTHER ORDERED that the information described above is to be used by Plaintiff
and her counsel solely for use and preparation in this litigation, and shail not be used or disclosed
for any other purpose or litigation whatsoever.

IT S FURTHER ORDERED that except upon further order of the Court or the agreement
of the parties, the information described above will not be disclosed or communicated in any way
to anyone other than (i) the Court and jury under seal; (i) counsel for the parties and their legal
assistants and clerical assistants; (iii) persons designated as expert witnesses; (iv) deponents; and
(v) the parties.

 

 
 

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IT 1S FURTHER ORDERED that upon the conclusion of this litigation, Plaintiff and her
counsel shall return to counsel for Defendant all originals, photocopies and reproductions of the

documents and information described above which are provided to Plaintiff subject to this
Protective Order.

[OAL Ob

wa COURT JUDGE

IT 1S SO ORDERED.

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Approved as to form and content:

 

 

LISA FARRELL ROCK VALLEY COLLEGE
~ > ° ~
“ees a $>- eX bee A
One of the Attorneys for Plaintiff One of the Attorneys for Defendant

 

LISA FARRELL

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Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 16 of 37 PagelD#:122 as “t

STATE OF ILLINOIS |
IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
COUNTY OF WINNEBAGO

LISA FARRELL,
Case No: 05 L 30]

Plaintiff,

V5.

ROCK VALLEY COLLEGE,

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Defendant.
ORDER

Pursuant to the agreement of the parties in this matter,

IT IS HEREBY ORDERED that the status hearing in this case set for December 6, 2006

at 9:00 aro. is continued until Jatruary 10, 2007 at 9:00 am.

 

Judge Janet R. Holmgren
APPROVED AS TO FORM:

 

Peter DeBruyne
Attormey for Plaintiff

Barbara Endoy G G |

Attorney for Defendant

PREPARED BY:

PETER DeBRUYNE
PETER DeBRUYNE, P.C.
838 North Main Street
Roekford, Il, 61103

Telephone (815) 964-3810

Attorney for Plaintiff.

 

 
 

 

 

 

 

 

 

 

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COUNTY OF WINNEBAGO ( O)/
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Plaintiff(s) ) el
WS. ) CASE NO._! '
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) BRIEF SCHEDULING ORDER
Defendant(s) } .
oe Motion
(Identify Party) (Identify Motion)

 

Movant shall provide a courtesy copy of the challenged pleading(s) or discovery response(s)
to the Court with the Memorandum in Support of the Motion.

1. Memorandum in Support of Motion!
Due on or before... cece i } 200 2

2. Responding Party:_'.

 

(Identify Party and Name)
Response to Motion/Memorandum in Support due on or before - 3 } , 20 o7

3. Moving Party:

 

 

(Identify Party and Name)

 

 

Reply to Response due on or before Feb ) , 20 6) .
4. Oral Argument on Motion is set before Judge i on. Fo 3 , 20 ) .
AP )AIOP--
5. Decision on Motion is set before Judge on, , 20

 

AMENDMENTS TO THE ABOVE SCHEDULE ARE TO BE MADE BY AGREED ORDER
ENTERED BY THE COURT.

PARTIES ARE TO SUBMIT COURTESY COPIES OF ALL BRIEFS.

ENTER:

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Dated: ~ oid
JUDGE

 

Original Order to Court file; Copies of Order to: Moving Party, Responding Party; and Judge’s Secretary

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Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 18 of 37 PagelD #:124
STATE OF ILLINOIS

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT
WINNEBAGO COUNTY

 

 

Case No,

 

 

 

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT
WINNEBAGO COUNTY

 

 

 

 

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WINNEBAGO COUNTY

 

 

 

 

 

 

 

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STATE OF ILLINOIS
CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT

WINNEBAGO COUNTY

 

 

 

 

 

 

 

 

 

 

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CIRCUIT COURT OF THE 17th JUDICIAL CIRCUIT
WINNEBAGO COUNTY

 

 

 

Case No.

 

  

 

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Case: 3:07-cv-50170 Document #: 1-3 Filed: 09/05/07 Page 23 of 37 PagelD #:129

   

STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
COUNTY OF WINNEBAGO

LISA FARRELL, )

) Case No. 05 L 30]
Plaintiff, ) =
FILED
VS. ) Date: & Lert ito

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ROCK VALLEY COLLEGE, } tbpenane th AO Bian
) Glerk of che Cizouit Gourt

Defendant. ) By Deputy

 
 

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PLAINTIFF’S MOTION TO AMEND COMPLAINT AND ADD
AMENDMENT TO COMPLAINT

NOW COMES the plaintiff LISA FARRELL (“FARRELL”), by her attorney,
PETER DeBRUYNE, P.C., and pursuant to 735 ICS 5/2-616 (a) FARRELL hereby
moves to amend her Complaint in the above captioned matter to add an additional count
for the deprivation of FARRELL's Constitutional Right to Due Process pursuant 42
U.S.C. § 1983, and further pursuant to 735 JLCS 5/2-616 (¢) FARRELL hereby moves to
amend her Complaint pursuant 42 U.S.C. § 1988 (6) to add a prayer for a reasonable
attomey's fee to FARRELL's Breach of Contract Count. FARRELL attaches hereto her
First Amended Complaint containing the changes referenced herein.

WHEREFORE, the plaintiff, LISA FARRELL, prays that this Court grant Plaintiff's

Motion to Arnend Complaint and Add Amendment to Complaint.

  

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Respectfully submitted,
LISA FARRELL, Plaintiff,

By PETER DeBRUYNE, P.C.

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Peter DeBruyne

 

Peter DeBruyne, #405
PETER DeBRUYNE, P.C.
$38 North Main Street
Rockford, Illinois 61103
Telephone (815) 964-3810
Attorney for Plaintiff.

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CERTIFICATE OF SERVICE

 

Pursuant to Supreme Court Rule 12, the undersigned certifies that he served the
foregoing Plaintiff's Motion to Amend Complaint and Add Amendment to Complaint on
the following:

Attomey Barbara Endoy

Robbins, Schwartz, Nicholas, Lifton & Taylor, Ltd.
20 North Clark Street

Suite 900

Chicago, IL 60602-4115

by enclosing same in an envelope, addressed as is shown above, with proper postage

prepaid, and depositing same in the United States mail at Rockford, [linois on the 21“
day of August, 2007 at 1:30 p.m.

=| > YC -—_—

| Peter DeBruyne

 

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STATE OF ILLINOIS
IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
COUNTY OF WINNEBAGO

LISA FARRELL,
Case No. 05 L301
Plainuff,

V5.

ROCK VALLEY COLLEGE,

Defendant.
FIRST AMENDED COMPLAINT

 

NOW COMES the plaintiff LISA FARRELL (“FARRELL”), by her attorney,
PETER DeBRUYNE, P.C., and for her First Amended Complaint against ROCK
VALLEY COLLEGE (“RVC”), states as follows:

COUNT I
BREACH OF CONTRACT BY RVC

1. At all times herein RVC was and presently is a community college duly
authorized and existing pursuant to the Public Community College Act.

2. RVC hired FARRELL to work in the payroll department of RVC commencing
January 4, 1988.

3. On January 4, 1988 FARRELL began her employment with RVC and
performed the duties of her employment unti! terminstion of her employment by RVC on
June 16, 2004 in the manner hereinafter alleged in paragraph 4 through 12 inclusive of
this Complaint.

4. On January 16, 2004 FARRELL met with Sherry Foreman, hereinafter
“FOREMAN,” Manager of Accounts Payable and Payroll Services for RVC.

5, Prior to FARRELL meeting with FOREMAN on January 16, 2004, RVC

distributed RVC Board Policy 629.00 conceming progressive discipline by posting it on
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the RVC website accessible to all employees including FARRELL for the purpose of
reliance by its employees including FARRELL upon said policy. A copy of RVC Board
Policy 629.00 is attached hereto marked Exhibit A and made a part hereof.

6. At all times on and subsequent to the posting of RVC Board Policy 629.00 on
the RVC website, FARRELL relied on RVC Board Policy 629.00 in the performance of
the duties of her employment with RVC.

7. At the January 16, 2004 meeting, FOREMAN orally informed FARRELL of
certain alleged deficiencies of FARRELL in the performance of her employment in
“processing Board Report 6132 prior to the approval of the Board of Trustees.”

&. At the January 16, 2004 meeting, FOREMAN also gave FARRELL a copy of
RVC Board Policy 629.00.

9. After the January 16, 2004 meeting, FOREMAN, in February 2004, gave
FARRELL another copy of RVC Board Policy 629.00.

10. On June 8, 2004 FOREMAN gave FARRELL a written reprimand with regard to
her work performance, a copy of which is attached hereto marked Exhibit B and made a part
hereof and which provides in relevant part:

In summary, J consider your current work performance to be deficient
and unsatisfactory, I expect to see immediate iruprovement. Please be aware
that failure to address the concems outlined in this memo or further failure to
follow established policies and procedures will lead to further disciplinary
action, up to and including your immediate dismissal as an employee of Rock
Valley College. We will meet during the period of July 12 through July 23,
2004 to discuss your progress or at any time sooner that the situation may
warrant.”

11. After June 8, 2004, FARRELL continued her employment with RVC until
June 16, 2004 when her employment with RVC was terminated by RVC.
12. The purported termination of June 16, 2004 was without suspension called for

by step three of RVC Board Policy No. 629.00 and occurred prior to a review of

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FARRELL'S progress at least 30 days after the June 8, 2004 written reprimand as is
required by step two of RVC Board Policy No. 629.00.

13. By reason of the foregoing purported termination which wes for the reasons
hereinbefore stated not in compliance with RVC Board Policy No. 629.00, FARRELL
was not allowed to continue working at her employment with RVC by reason of which
she sustained daroages in an amount in excess of FIFTY THOUSAND AND NO/100
($50,000.00) DOLLARS including but not limited to loss of wages, retirement benefits,
personal time pay, vacation pay and health insurance benefits.

WHEREFORE, the plaintiff, LISA FARRELL, requests judgment against the
defendant, ROCK VALLEY COLLEGE, in an amount in excess of FIFTY THOUSAND
AND NO/100 ($50,000.00) DOLLARS plus a reasonable attorney’s fee and costs of suit.

COUNT II
VIOLATION OF CONSTITUTIONAL RIGHTS BY RVC

1. At all times herein RVC was and presently is a community college duly
authorized and existing pursuant to the Public Community College Act.

2. RVC hired FARRELL to work in the payroll department of RVC commencing
January 4, 1988.

3. On Jamary 4, 1988 FARRELL began her employment with RVC and
performed the duties of her employment until termination of her employment by RVC on
June 16, 2004 in the manner hereinafter alleged in paragraph 4 through 12 inclusive of
this Complaint.

4. On January 16, 2004 FARRELL met with Sherry Foreman, hereinafter
“FOREMAN,” Manager of Accounts Payable and Payroll Services for RVC.

§. Prior to FARRELL mesting with FOREMAN on January 16, 2004, RVC

distributed RVC Board Policy 629.00 concerning progressive discipline by posting it on

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the RVC website accessible to all employees including FARRELL for the purpose of
teliance by its employees including FARRELL upon said policy. A copy of RVC Board
Policy 629.00 is attached hereto marked Exhibit A and made a part hereof

6. At all times on and subsequent to the posting of RVC Board Policy 629.00 on
the RVC website, FARRELL relied on RVC Board Policy 629.00 in the performance of
the duties of her employment with RVC.

7. At the January 16, 2004 meeting, FOREMAN orally informed FARRELL of
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“processing Board Report 6132 prior to the approval of the Board of Trustees.”

8. At the January 16, 2004 meeting, FOREMAN also gave FARRELL a copy of

RVC Board Policy 629.00.

9. After the January 16, 2004 meeting, FOREMAN, in February 2004, gave
FARRELL another copy of RVC Board Policy 629.00.

10. On June 8, 2004 FOREMAN gave FARRELL a written reprimand with regard to
her work performance, a copy of which is attached hereto marked Exhibit B and made a part

hereof and which provides in relevant part:

In summary, I consider your current work performance to be deficient
and unsatisfactory. I expect to see immediate improvement. Please be aware
that failure to address the concems outlined in this memo or further failure to
follow established policies and procedures will lead to further disciplinary
action, up to and including your immediate dismissal as an employee of Rock
Valley College. We will meet during the period of July 12 through July 23,
2004 to discuss your progress or at any time sooner that the situation may
warrant,”

11. After June 8, 2004, FARRELL continued her employment with RVC until
June 16, 2004 when her employment with RVC wes terminated by RVC.
12, The purported termination of June 16, 2004 was without suspension called for

by step three of RVC Board Policy No. 629.00 and occurred prior to a review of

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FARRELL'S progress at least 30 days after the June & 2004 written reprimand as is
required by step two of RVC Board Policy No. 629.00.

13. At all relevant times, there existed in IHinois the Civil Rights Act, Civil
Action for Deprivation of Rights, 42 U.S.C. § 1983 et. seq., which provided in relevant
part:

“Every person who, under color of any statute, ordinance,
tegulation, custom, or usage, of any State or Territory or the
District of Columbia, subjects, or causes 1o be subjected, any
citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any rights, privileges, or immunities
secured by the Constitutian and Jaws, shall be liable to the party
injured in an action at law, suit in equity, or other proper
proceeding for redress...” (42 U.S.C. § 1983)

14. At all relevant times, there existed in Illinois the Civil Rights Act, Proceedings
in Vindication of Civil Rights, 42 U.S.C. § 1988 (b) et. seqg., which provided in relevant
part:

“In any action or proceeding to enforce a provision of
sections 1981, 1981a, 1982, 1983, 1985, and 1986 of this title, title
IX of Public Law 92-318 [20 US.C.A. § 1681 et seq.J, the
Religious Freedom Restoration Act of 1993 (42 U.S.C.A. §
2000bb et seq.], the Religious Land Use and Institutionalized
Persons Act of 2000 [42 U.S.C.A. § 2000cc et seq.J, title VJ of the
Civil Rights Act of 1964 [42 U.S.C.A. § 2000d et seq.], or section
13981 of this title, the court, in its discretion, may allow the
prevailing party, other than the United States, a reasonable
attorney's fee as part of the costs, ...” (42 U.S.C. § 1988(b))

15. Based upon RVC Board Policy No. 629.00. FARRELL had a
constitutional right to not be deprived of her employment by RVC without due process of
law pursuant to the Civil Rights Act, 42 U.8.C. § 1988 (b) et. seq.

16. RVC has violated the Civil Rights Act and deprived FARRELL of her
constitutional right of due process by terminating FARRELL without providing
FARRELL a dismissal hearing as promised by RVC Board Policy No. 629,00 and other

progressive steps of discipline as provided for in RVC Board Policy No. 629,00,

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17. By reason of the foregoing purported termination which was for the
reasons hereinbefore stated not in compliance with RVC Board Policy No. 629.00,
FARRELL has sustained damages in an amount in excess of FIFTY THOUSAND AND
NO/100 ($50,000.00) DOLLARS.

WHEREFORE, the plaintiff, LISA FARRELL, requests judgment against the
defendant, ROCK VALLEY COLLEGE, in an amount in excess of FIFTY THOUSAND
AND NO/100 ($50,000.00) DOLLARS plus a reasonable attorney's fee and costs of suit.

LISA FARRELL, Plaintiff,
ae DeBRUYNE, P.C.
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\ | Ss

J Peter DeBruyne, her Attorney

PLAINTIFF DEMANDS A TRIAL BY JURY

Peter DeBruyne ~ #405
PETER DeBRUYNE, P.C.
838 North Main Street
Rockford, IL 61103

Attorney for Plaintiff.

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CERTIFICATE OF SERVICE

Pursuant to Supreme Court Rule 12, the undersigned certifies that he served the foregoing
Plaintiff's First Amended Complaint on the following:

Attomey Barbara Endoy

Robbins, Schwartz, Nicholas, Lifton & Taylor, Ltd.
20 North Clark Street

Suite 900

Chicago, IL 60602-4115

by enclosing same in an envelope, addressed as is shown above, with proper postage prepaid,
and depositing same in the United States mai! at Rockford, Illinois on the 21" day of August,

2007 at 5:00 p.m.
fo . gS ae Ts,
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Peter D&Bruyne

 

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Rock Valley College

 

Progressive Discipline
It is the intent of Rock Valley College to foster optisnum performance and otherwise
assist PSA/ESP Full-time and Continuous Part-time Employees in the accomplishment of
their professional responsibilities. Each staff member is to be personally
committed to high performance and active participation in the life of the College

community.

izing that the preferred outcome of the progressive disciplinary process is positive
change in the performance/bebavior brought to the involved staff member's aitention,
several steps of increasing severity may be utilized.

Upon the determination of the immediate supervisor that a problem exists that may lead
to disciplinary action, the employee will be notified in writing and allowed to sock the
assistance of the approprials Staff Association representative(s) for informal resolution.

These steps are:

Step 1: Formal Oral Warming:

A. Issued in conference with the staff member by her/his immediate supervisor, the
oral warming is used fo:

a. Formally present/define the problem at hand;

b. Convey the expectation that the staff member will take the step(s)

necessary to rectify the problem within a preseribed time period;
c. Degeribe the methods for assessing compliance. The information
presented in the oral conference will be summarized in writtcn
memorandum form within two (2) days of the conference, with copies
provided to the staff member and placed m her/his personnel file, and
d. Review of the staff member progress will take place within 30’ days of the

ora} warming conference.

 

Employees involved in disciplinary action may not be allowed 10 transfer during this disciplinary period.
Progressive Discipline Policy- Human Resources Services-] 1/03

Page | of 3 EXHIBIT

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B. At or about the completion of the time period provided for in the oral wamiing, 4
conference will be held with the staff member to ascettain whetber all
expectations set forth in the warming have been met.

If the identified problem is not resolved as expected, the problem and outcome will be

documented in writing, placed in the staff member's personzel file for a period of up to
three (3) years”, with the progressive disciplinary process completed, unless further
infractions occur. After one year, and barring no further problems occur. An employee
may request the Supervisor to remove the letter from their file.

Step 2: Written Warning:

A. Ifthe serious problem remains unresolved, a written reprimand will be presented
to the involved staff member in conference with the immediate supervisor and

Executive Dean of Human Resources. In it will be specified :

1.) the nature of the problem;

2.) a summary of prior efforts made on behalf of the College to resolve the\
problem;

3.) a listing of the directed change(s) to be made;

4.) the time period prescribed for that purpose, and

5.) a summary of methods for assessing compliance

A review of the employee's progress will take place at jeast 30 days after a written

reprimand is issued.

At or about the completion of the time period poovided for in the written reprimand, a
conference will be held with the staff member to ascertain whether al) directed changes

set forth in the reprimand have been met If the identified problem is resolved as directed,
the outcome will be docurnented in writing, attached to the written reprimand and placed
in the staf{ member's personnel file for up to a period of four (4) years, with the
propressive disciplinary process completed, uniess further infractions occur. After one
year, an employee may request the Supervisor to remove the letter from their file,

Step 3: Suspension:

A. Ifthe serious problem remains unresolved, the staff member will be issucd

suspension without pay, Depending on the seriousness of the problem, the
suspension can be within 1-3 days. The suspension shall be documented and

placed in the employce's personnel file for 2 period of four (4) years.

 

and no renecurrence during the three (3) year period.

® Assumes peer guidance assistance was accepted
Hurnan Resources Services-11/03

Progressive Discipline Policy-

Page 2 of 3

 

 

 
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Step 4: Dismissal:
A. Ifthe documentation sbows all previous forma! methods of disciplining the
employee has failed, a recommendation for dismissal will be prepared for the
Board of Trustees.

Notice: Though the above progressive discipline process will be desirable for resolving
most serious problems, extraordinary misconduct may, at the discretion of the President,
warrant by-pass of the process in favor of an immediate suspension or a dismissal
hearing. Examples of serious misconduct that may necessitate such action include but are

not limited to the following:
1. Intentional falsification of credentials, time sheets, and/or College records.

2. Conviction of a felony or misdemeanor for a criminal violation that would impact
upon the staff member’s ability to perform her/his job (such as theft of college
property and possession, use or sale of illegal drugs on College property).

3. Sabotage of the College’s systems or property.

Note #1; Step 1 and/or Step 2 of the progressive discipline process may be waived upon \
repetition of the original/similer serious or continuous problems within the time period(s)
in which documentation pertaining to the origimal problem is retained in the staff

miember’s personne! file.

Note #2: The employee has the right to Association representation or a witness of their
choice, at any level of the disciplinary meeting.

Progressive Discipline Policy- ![uman Resources Services-11403
Page 3 of 3
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MEMORANDUM

DATE: June 8, 2004
TO: Lisa Farrel!

FROM: Sherry Foreman
Manager of Accounts Payable and Payroll Services

RE: Written Reprimand - Concerns with your Work Performance

This memo is a follow-up to our meeting on Thursday afternoon, May 27, 2004 between
you, the Associate Vice-President of Human Resource Services, Shirley Hardy and me.
Although you were offered the opportunity to have an employee fepresentative of your
choice at the meeting, you declined. The purpose of this memo is to surmmarize my
concems with your work pezformance. I apologize for the delay in getting this follow-up
Memo to you, but as you are aware I was out of the office last week due to health issues.

As you are aware, there have been ongoing concerns with your work performance. I
have previously expressed my performance expectations for you in 4 memo dated March
7, 2003, further expressed concems and expectations on your last annual performance
review dated May J, 2003, as well as in memos dated January 22, 2004 and Febnuary 1],
2004. In addition, J have discussed concems with you on several occasions over the last
several months. You have failed to meet the expectations and consistently failed to mest
timelines. Your errors have cast the College in both time and money. ‘The most recent
example was your incorrect entry on the pay cycle pay date screen. Although you bad
the opportunity to correct your error through the normal payroll processing activities, you .
fajled to do so. As you know, your error caused a direct deposit problem at the bank, and
significantly delayed the bank's normal processing activities. In addition, your exvor
created the need for us to void and reissue over 200 payroll checks.

In summary, I consider your current work performance to be deficient and unsatisfactory.
T expect to see immediate improvement. Please be aware that failure to address the
concerns outlined in this memo or further failure to follow established policies and
procedures will lead to further disciplinary action, up to and meluding your immediate
dismissal as an employee of Rock Valley College. We will meet during the period of July
12 through July 23, 2004 to discuss your progress or at any time sooner that the situation

may watrant.
Received by: Bink Tinoll (tne 8,a00H
Lisd Farrell Date

Cec: Human Resources

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FILED
UNITED STATES DISTRICT COURT SEP 05 2007
FOR THE NORTHERN DISTRICT OF ILLINOIS
WESTERN DIVISION MICHAEL W. DOBINS, CLERK
ITED STATES DISTHICT
LISA FARRELL, ) ovesorv oo
) USDC Case No.
Plaintiff, ) Hon.
)
vs. ) Circuit Court of the 17" Judicial Circuit
) Case No. 05L 301
ROCK VALLEY COLLEGE, ) Hon. J. Edward Prochaska
)
Defendant. )
NOTICE OF FILING
To: Lisa Farrell Clerk of the Court
c/o Peter DeBruyne, Esq. Winnebago County Circuit Court
Peter DeBruyne, P.C. 400 West State Street
838 North Main Street Rockford, IL 61101

Rockford, IL 61103

PLEASE TAKE NOTICE that on the 4th day of September, 2007, we filed with the
United States District Court for the Northern District of Illinois, Western Division, 211 South
Court Street, Rockford, Illinois, the NOTICE OF REMOVAL, served herewith.

ROCK VALLEY tr
By: x Vl
e of Defendants Attorneys
CERTIFICATE SERVICE

_ | hereby certify that on the 4th day of September, 2007, | mailed the foregoin
Notice and pleading(s} to the Clerk of the Court for filing, via UPS Next Day Air, and serve
a copy upon Peter Det ruyne, Esq., attorney for Plaintiff, and Clerk of the Circuit Court for
Winnebago County, via First Class Mail on September 4, ~ f

 

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Joseph J. Perkoski (6216678)
Barbara Endoy (6285513)
ROBBINS, SCHWARTZ, NICHOLAS,
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Tel. 312.332.7760
Fax 312.332.7768

 

 
